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WILLIAM SLOAN COATS (State Bar No. 94864)

VICKIE L. FEEMAN (State Bar No. 177487) ORIGINAL
SAM O’ROURKE (State Bar No. 205233) FILED
ORRICK, HERRINGTON & SUTCLIFFE LLP

1000 Marsh Road JAN - 2 2002
Menlo Park, CA 94025

Telephone: (650) 614-7400 RICHARD Wear
Facsimile: (650) 614-7401 NORTHERN DISTRICT OF CALIFORNIA

DAVID J. ANDERMAN (State Bar No. 172228)
Lucasfilm LTD.

P.O. Box 2009

San Rafael, CA 94912

Telephone: (415) 472-3400

Attomeys for Plaintiffs
LUCASFILM LTD., a California Corporation and

LUCAS LICENSING LTD., a California
corporation

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Lucasfilm LTD., a California corporation | CASE NO. C01-4041SC
and LUCAS LICENSING LTD., a

California corporation,
DECLARATION OF SAM O’ROURKE IN
Plaintiffs, SUPPORT OF PLAINTIFFS’ REPLY TO
DEFENDANT’S OPPOSITION TO
Vv. PLAINTIFFS’ MOTION FOR TEMPORARY

RESTRAINING ORDER AND PRELIMINARY
MEDIA MARKET GROUP, LTD., etal, | INJUNCTION

Defendants. Date: January 4, 2002
Time: 10:00 a.m.
Dept: Courtroom 2, 4th Floor

The Honorable Claudia Wilken

 

 

 

DOCSSV2:508535.1 DECLARATION OF SAM O’ROURKE
CASE NO. CO1-4041SC

 
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I, Sam O’Rourke, declare as follows:

1. I am a member of the bar of the State of California and an attorney with
Orrick, Herrington & Sutcliffe LLP. I am one of the attorneys for Plaintiffs in this action. I make
this declaration in support Plaintiffs’ Reply to Defendant’s Opposition to Plaintiffs’ Motion for
TRO and Preliminary Injunction. I have personal knowledge of the facts set forth in this
declaration and could and would competently testify to them under oath if called as a witness. I
am personally familiar with the relevant files, correspondence and pleadings exchanged and filed
in the above-entitled action.

2. On December 5, 2001, at 6:10 p.m., Defendant was served with the
Complaint in this case, as well as Plaintiffs’ TRO papers. A true a correct copy of the Affidavit
of Service is attached hereto as Exhibit A.

3. Service was effected only after Plaintiffs invested substantial time and
effort in locating and serving Defendant. Plaintiffs enlisted the services of several private
investigators to locate and serve Defendant.

4. On January 2, 2001, I began the process of purchasing Defendant's
“Starballz” DVD from Defendant’s “starballz.com” website to demonstrate that Defendant is
doing business in California. When I clicked on link to purchase the DVD, I was sent to a page
that states “Sales tax of 8 % is applied to all orders shipped to California State.” A true and
correct copy of a printout of that page is attached hereto as Exhibit B.

5. On January 2, 2001, 1 conducted a search on the website “dvdplanet.com”
using the search term “star.” The results of that search listed Defendant's movie “Starbaliz”
directly after Plaintiffs’ movie “Star Wars Episode I: The Phantom Menace (Special Edition).”
Attached hereto as Exhibit C is a true and correct copy of the relevant portion those search results
of the “dvdplanet.com” website.

6. Counsel for Defendant, Evan Feinberg, called me on December 19, 2001,
the same day the Court issued a temporary restraining order against Defendant. Mr. Feinberg
informed me that his client, Media Market Group, had no intention of abiding be the terms of the

DOCSSV2:508535.1 DECLARATION OF SAM O'ROURKE |
CASE No. C01-40418C

 
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temporary restraining order and that MMG would continue to make, sell and distribute the movie
Starballz despite the Court’s order to the contrary.
I declare under the penalty of perjury according to the laws of the United States

that the foregoing is true and correct. Executed on Wednesday, January 02, 2002, in Menlo Park,

 

California.
ORRICK, HERRINGTON & SUTCLIFFE LLP
a rs
C Affe
am O’Rourke
Attorneys for Plaintiff, LUCASFILM, LTD.
DOCSSV2:508535.1 DECLARATION OF SAM O’ROURKE

CaSE No. C01-40415C

 
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UNITED STATES DISTRICT COURT / NORTHERN DISTRIC CALIFORNIA
Index No. C 01 4041]

LUCASFILM LTD., A CALIFORNIA CORPORATION, ET ANO

Plaintiff

 

- against -

MEDIA MARKET GROUP, LTD., ET AL
Defendant

 

State Of New York, County of New York SS:

KAREN BELL

Being duly sworn, deposes and says, that she is over the age of 18 years, is not party to this action and
resides in New York.

That on the 5" day of DECEMBER 2001, At 6:10 PM
At: 313 CHURCH STREET, NEW YORK, NEW YORK

Deponent served the annexed: 1) CIVIL COVER SHEET; SUMMONS; COMPLAINT FOR
FEDERAL INFRINGEMENT, TRADEMARK INFRINGEMENT, UNFAIR COMPETITION,
FALSE DESIGNATION OF ORIGIN, AND TRADEMARK DILUTION; STATE LAW UNFAIR
COMPETITION, FALSE ADVERTISING, AND TRADEMARK DILUTION; COMMON LAW
TRADEMARK INFRINGMENT; ORDER SETTING INITIAL CASE MANAGEMENT
CONFERENCE 2) PLAINTIFFS’ EX PARTE MOTION FOR ORDER TO SHOW CAUSE AND
TEMPORARY RESTRAINING ORDER; 3) PLAINTIFF’S MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF ITS EX PARTE MOTION FOR ORDER TO SHOW CAUSE
AND TEMPORARY RESTRAINING ORDER; 4) DECLARATION OF DAVID J. ANDERMAN IN
SUPPORT OF MOTION FOR ORDER TO SHOW CAUSE AND TEMPORARY RESTRAINING
ORDER, 5) [PROPOSED] ORDER

Upon: MEDIA MARKET GROUP, LTD.

PERSONAL SERVICE ON A CORPORATION
A corporation, by delivering thereat a true copy to PETER DeMAS personally;
deponent knew the said individual to be Authorized Ta Accept Service thereof.

DESCRIPTION - Deponent describes the individual served or spoken to as follows:
sex: MALE Color: WHITE Hair: BROWN App. Age: 35 App. Ht: 5°8” App. Wt. 190

Other identifying features: GLASSES
boron (2, os

KAREN BELL #100-4468

Sworn to before me this 6”
day of DECEMBER, 2001

 

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Cily of New York - No. 1-8486
Certificate Fitec in Now York
Commission Expires June 8, 2002
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MMG Anime - ‘Shopping Cart Display

Below are the contents of your shopping cart. You may either “Shop More, " "change the quantity and then "Update Cart, “oO
"Checkout" to purchase the carts contents.

Your Cart Contains

 

 

 

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* Sales tax of 8 % is applied to all orders shipped to California State.

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New Release pag ~

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Star Trek TV #36: Whom Gods Destroy/ The Mark Of
pvp "Gideon 10/23/2001 $19.99 $14.99
balay Star Trek TV #37: The Lights Of Zetar/ The Cloud Minders
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Action/Adventure Methuselah 11/27/2001 $19.99 $14.99
. . Star Trek TV #39: The Savage Curtain / All Gur
Animation * Vesterdays 12/11/2001 $19.99 $14.99
Anime Star Trek TV #40: Turnabout Intruder / The Cage (2
; ; * Versions) 12/11/2001 $19.99 $14.99
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@Star Trek: First Contact 10/6/1998 $29.99 $22.49
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Foreign Star Trek: The Motion Picture (Special Edition)
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Horror 11/6/2001 $29.98 $22.49
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Edition) 10/16/2001 On Sale! $29.98 $20.99
Sci-Fi/Fantasy
*@Starballz 1/2/2002 Pre-Order $29.95 $20.96
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- Repackage) 9/18/2001

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ALL CATEGORIES Moon 44 10/23/2001

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Westerns
$24.98 $18.74

#Stargate SG-1: Season #1 5/22/2001 $89.96 $67.47

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#Stars' Caravan 3/13/2001 $24.98 $18.74
*Starship Troopers (Special Edition} 5/19/1998 $19.95 $14.96

Starter Pack DVD Box Set: Ghostbusters/ Godzilla/ Mask
Zorro/ Sleepless Seattle 2/1/2000

#Starting Over (Cable Version} 12/11/2001 $34.99 $26.24
#Startup.com (Special Edition) 9/18/2001 $24.98 $18.74
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Superstar: The Life And Times Of Andy Warhol (Special
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